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Generated: 01/07/2021 8:24 AM EST

                                                          Incident Summary
700270_WF (U//FOUO) Richard "Bigo" Barnett admits to being in Speaker Pelosi's Office during
          01/06/2021 protests


 Richard Barnett                                               700270_WF                                                       (U//FOUO) Priority 1
 HQ-CTD-492-II-21                                    Status: Closed (on 01/07/2021)                                      Tier 1 (Terrorist Operator)
 (U//FOUO) Anti-Government or Anti-                 This Report or Assessment relates
 Authority Violent Extremism                         to or enhances an existing PI/FI


   (U//FOUO) Richard Barnett (Male,                                                                          Program Measures
   07/12/1960)
                                                                                              5 Day Draft         5 Day Action               180 Day
   Other Information: Caution: known to be
                                                                                               Measure              Measure                  Measure
                      heavily armed
   Race:              White                                                                          1                     1                   1
   Subrace:           Caucasian
   Eye Color:         Blue                                                                                             Mitigation
   Hair Color:        Gray or Partially Gray
   Height:            71 inches                                                                      ☐                     ☐                   ☐
   Weight:            170 lbs.
   US Person:         Yes
   Public Figure:     No
   Subject Type:      Main
   Driver's License: 917346709
   Complexion:        Light
                                                                                                                 Information Only
   Attachments:            (U//FOUO)
                           barnett,                                                            Threat to Life:            No
                                                                                               Report Type:               Terrorist Threat
                           richard dl                                                          Program                    DTOS/DTOU
                           photo_700270_LR_1609979111133.jpg (11.6 KB)                         Management:
                                                                                               Observed:                  01/06/2021 04:30:00 PM
                           DL Photo
                                                                                               Time Zone:                 GMT -06:00 US/Canada
                                                                                                                          Central
                                                                                               Origin Agency:             FBI
                                                                                               Receipt Method:            Media
                                                                                               Field Office:              WASHINGTON FIELD
                                                                                               Assigned Squad:            WF-CT11
                                                                                               Approver(s):               WF-CT11 Supervisors
                                                                                               Report Creator:            LOEL SKOCH
                                                                                               Report Owner:              LOEL SKOCH



                 Baseline Collection                                           Baseline Collection Plan
                Database/Resource Queries                                        Authorized Methods Utilized
   Date Last Checked       Database                  Date Last Checked        Technique Utilized
   01/06/2021              Other                     01/06/2021               Accept voluntarily provided information by governmental or private
   01/06/2021              Photographic Web Sites                             entities.

   01/06/2021              Public Search Engines     01/06/2021               Administrative note for informational purposes.

   01/06/2021              Social Media              01/06/2021               Obtain publicly available information.
                                                     01/06/2021               Use online services and resources (whether nonprofit or commercial).
           Baseline Compliant   ☐
                                                                             Baseline Compliant      ☐

(U//FOUO) On 01/06/2021 media reports identified an individual who participated on the
Capital protest where protesters stormed the Capital Building. Barnett was photographed in
Speaker Pelosi's Office. (see attached photo)

Source reporting, local law enforcement liaison contacts, social media posts, and self
admissions on twitter confirmed his identity as Richard "Bigo" Barnett.

He is further described below:

Name: Richard Barnett
Arkansas Drivers License number: 917346709




                                                                         1


                                                                                                                                             CAP03_000001819
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DOB: 07/12/1960
Address: 17853 North Mount Olive RD, Gravette, Arkansas 72736
White/Male
Height: 5'11
Weight: 170
Eyes: Blue

CHS reporting indicates that Barmett may currently be staying at "the Hyatt near the river in
DC."

                                                                   Subjects

  (U//FOUO) Richard Barnett (Male, 07/12/1960)
  Other Information: Caution: known to be heavily
                     armed
  Race:              White
  Subrace:           Caucasian
  Eye Color:         Blue
  Hair Color:        Gray or Partially Gray
  Height:            71 inches
  Weight:            170 lbs.
  US Person:         Yes
  Public Figure:     No
  Subject Type:      Main
  Driver's License: 917346709
  Complexion:        Light
  Attachments:        (U//FOUO) barnett, richard dl photo_700270_LR_1609979111133.jpg (11.6 KB)
                      DL Photo


                                                                Attachments
DL photo

Criminal History

NCIC1

NCIC2


                                                                       Notes

  (U//FOUO) Made contact with WFO command post
  Authorized         Administrative note for informational purposes.
  Method:
  Description:       At approximately 6:38 p.m. CST writer made contact with the WFO command post and
                     notified them of captioned guardian lead and guardian number.
  Status:            Completed
  History:
     01/06/2021 07:39:16 PM Created Note: Made contact with WFO command LOEL SKOCH ( LITTLE ROCK /LR-14 )
                            post


  (U//FOUO) Accurint Richard Barnett
  Authorized         Use online services and resources (whether nonprofit or commercial).
  Method:
  Databases          Other
  checked:
  Description:       Accurint search results revealed the following information for Barnett:

                     Name: Richard M Barnett
                     DOB: 3/14/1960
                     SSN: XXX-XX-XXXX
                     Address 1: PO Box 406, Gravette, AR 72736 (DEC 2020)
                     Address 2: 17853 N Mount Olive Rd, Gravette, AR 72736 (JUNE 2020)
                     Phones: 479-739-2604, 479-790-6436
                     Associates and Relatives: Jessy Rochelle Mills (6/1/1995), Tammy Lynn Newburn
                     (3/20/1969, Phone 479-323-7019), Rocky Mills (7/31/1964)




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                                                                                                            CAP03_000001820
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Status:         Completed
History:
  01/06/2021 07:46:59 PM Created Note: Accurint Richard Barnett          ANNALISE DUNN ( LITTLE ROCK /LR-14 )


(U//FOUO) Information on possible law enforcement affiliation
Authorized      Accept voluntarily provided information by governmental or private entities.
Method:
Description:    FBI TFO James Chamberland advised that multiple contacts at the Benton County Sheriff's
                Office believe that Barnett was and/or is a police officer at the Sulphur Springs Police
                Department, Sulphur Springs, Arkansas.
Status:         Completed
History:
  01/06/2021 07:55:53 PM Created Note: Information on possible law       LOEL SKOCH ( LITTLE ROCK /LR-14 )
                         enforcement affiliation


(U//FOUO) Open Source Research Barnett
Authorized      Obtain publicly available information.
Method:
Databases       Other, Photographic Web Sites, Public Search Engines, Social Media
checked:
Description:    Open source research conducted on Barnett revealed the following information:

                Facebook for Richard Barnett:
                -www.facebook.com/bigo.barnett.1
                -Facebook UID: 100057806702875
                -Facebook Preservation Case #: 5714852 (preserved on 1/6/2021 @ aprox. 6:00 pm

                News on Richard Barnett:
                -Northwest Arkansas News "Man Photographed in Nancy Pelosi's Office Could be
                From Northwest Arkansas (www.nwahomepage.com/northwest-arkansas.news/man-
                photographed-in-nancy-pelosis-office-could-be-from-northwest-arkansas/

                Twitter chatter on Richard Barnett:
                -Lisa Brence (twitter.com/theLovelyLisaB posted a photo of Barnett in Nancy Pelosi's office
                with the title "EXCLUSIVE: Man photographed in Nancy Pelosi's office believed to be from
                Northwest #Arkansas"

                -Matthew Rosenberg (twitter.com/AllMattNYT) posted photos and a video of Barnett.
                Comments on the video include "After getting into Pelosi's office, he said 'I wrote her a nasty
                note, put my feet up on her desk and scratched my balls.'" Additionally, he admitted to taking
                an envelope from Speaker Pelosi's office titled to "The Honorable Billy Long".
Status:         Completed
Attachments:     (U//FOUO) Lisa Brence Twitter Barnett at Pelosi
                 desk_700270_LR_1609981330788.png (530.9 KB)
                  Lisa Brence Twitter
                  (U//FOUO) Matthew Rosenberg Twitter
                  Barenett_700270_LR_1609981362096.png (639.2 KB)
                  Rosenburg Twitter 1
                  (U//FOUO) Matthew Rosenberg Twitter Barenett
                  2_700270_LR_1609981391554.png (2374.3 KB)
                  Rosenberg Twitter 2
                  (U//FOUO) barnett video_700270_LR_1609981415025.mp4 (2162.5 KB)
                  Rosenberg Twitter video
                  (U//FOUO) Man photographed in Nancy Pelosi’s office could be from Northwest Arkansas _
                  KNWA FOX24_700270_LR_1609981449154.pdf (1664.7 KB)
                  NWA news
History:
  01/06/2021 08:01:37 PM Created Note: Open Source Research Barnett      ANNALISE DUNN ( LITTLE ROCK /LR-14 )


(U//FOUO) Contact with WFO Command post
Authorized      Administrative note for informational purposes.
Method:
Description:    On 01/06/2021 at 7:11 p.m. writer made contact with the WFO command post to advise that
                captioned guardian lead had been submitted and forwarded to them.




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                                                                                                                  CAP03_000001821
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 Status:           Completed
 History:
    01/06/2021 08:12:42 PM Created Note: Contact with WFO Command post LOEL SKOCH ( LITTLE ROCK )



                                                                  Referrals
 Has this matter    No
 been referred
 to OGA/State/
 Local?

                                                                 Disposition

 (U) Disposition
   Note:                                         Guardian forwarded to 176-WF-3366759 regarding the ongoing
                                                 criminal investigation.
   Investigation Type:                           Full
   Disposition:                                  This Report or Assessment relates to or enhances an existing PI/
                                                 FI
   Associated Case Numbers:                     176-WF-3366759

                                                                  Workflow
01/06/2021 07:12:52 PM Created Incident                                                   Assigned By: LOEL SKOCH ( LITTLE ROCK
                                                                                                       /LR-14 )
                                                                                          Assigned To: LOEL SKOCH ( LITTLE ROCK
                                                                                                       /LR-14 )
01/06/2021 07:37:38 PM Incident submitted for opening                                     Assigned By: LOEL SKOCH ( LITTLE ROCK
                                                                                                       /LR-14 )
                                                                                          Assigned To: ( LITTLE ROCK /LR-14 )
01/06/2021 08:09:21 PM Incident transferred                                               Assigned By: JONATHAN WILLETT (
                       See the attached Guardian on one of the self-admitted protesters                LITTLE ROCK /LR-14 )
                       who gained access to Speaker Pelosi's office during the 1/6/2021   Assigned To: ( WASHINGTON FIELD )
                       civil unrest in DC.
01/06/2021 11:21:58 PM Incident assigned                                                  Assigned By: MELANIE LORENZO (
                       Will likely go to the 176-WF-3366759 case.                                      WASHINGTON FIELD /WF-
                                                                                                       CT10 )
                                                                                          Assigned To: ( WASHINGTON FIELD /WF-
                                                                                                       CT11 )
01/07/2021 08:23:35 AM Closed as Information Only                                         Assigned By: VINCENT ANTIGNANO (
                                                                                                       WASHINGTON FIELD /WF-
                                                                                                       CT11 )
                                                                                          Assigned To: ( WASHINGTON FIELD /WF-
                                                                                                       CT11 )




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                                                                                                                         CAP03_000001822
